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                             IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLORADO


 Civil Action No.: 19-cv-00874-RBJ-MEH

 WARNER RECORDS INC., et al.,

          Plaintiffs,

 v.

 CHARTER COMMUNICATIONS, INC.,

          Defendant.

      ______________________________________________________________________________

          PLAINTIFFS’ MOTION TO EXCLUDE CERTAIN EXPERT TESTIMONY OF
                                    GEORGE STRONG
      ______________________________________________________________________________


             Plaintiffs in the above-captioned matter respectfully move to exclude certain testimony

      by Defendant Charter’s expert, George Strong.

             Strong is a professional expert witness who focuses on damages calculations. Although

      Strong offers a number of calculations in this case, Strong’s opinions are based on his

      understanding of the law, unsupported assumptions and flawed methodology, and Charter’s other

      expert Dr. Aram Sinnreich.

             Strong opines on the statutory damages factors and the range of statutory damages in the

      case based on his (or Charter’s counsel’s) interpretation of statutory and case law. Strong also

      intends to opine that the opinions of Plaintiffs’ damages expert, Dr. Harold Furchtgott-Roth, are

      irrelevant or insufficient under “the actual standards … of [17 U.S.C.] Section 504.” Ex. C
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   (Strong Deposition Transcript) at 107:25-108:15.1 These opinions should all be excluded

   because they are improper legal opinion testimony.

          Strong’s opinions on the economic benefits to Charter of retaining infringing subscribers

   and harm to Plaintiffs from infringement should be excluded because they are based on

   unreasonable assumptions and methods that are contradicted by the evidence. Strong’s analysis

   of the economic benefit to Charter of retaining infringing subscribers rests on assumptions that

   Strong himself has admitted are “unrealistic” and “supersede[ ] the practicality” that internet use

   wasn’t severable in the way it would have to be for Strong’s analysis to make sense. Id. at

   232:5-14; 233:16-20. Strong’s analysis of the harm suffered by Plaintiffs is unreliable because it

   fails to account for subsequent distribution of the copyrighted material—a key feature of peer-to-

   peer (“P2P”) file-sharing software.

          Finally, although Strong is a self-described “damages witness,” he opines on the music

   industry, file-sharing technology, and piracy, based on the opinions of Charter’s expert

   Dr. Sinnreich. Those opinions should be excluded for the reasons stated in Plaintiffs’ motion to

   exclude Dr. Sinnreich and because they are well beyond the scope of Strong’s expertise.

                                           BACKGROUND

          Strong, a professional damages expert, authored two reports in this matter: the “Expert

   Rebuttal Report of George G. Strong, Jr.” dated June 28, 2021 (Ex. A) and the “Second Rebuttal

   Expert Report of George G. Strong, Jr.” dated September 21, 2021 (Ex. B).2 Strong is not an

   economist nor does he have expert knowledge of the music industry and technology. See Ex. A



   1
    Citations to “Ex.” refer to the exhibits to the Declaration of Stacey K. Grigsby filed
   concurrently herewith.
   2
     Strong subsequently disclosed “updated tables . . . and workpapers” that should be excluded for
   the reasons set forth in Plaintiffs’ Motion to Strike Untimely Expert Disclosures. See Dkt. 540.

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   at App. A; Ex. C at 34:4-35:21; 105:18-106:17. Strong has never worked in or studied the music

   or internet service industries, and he lacks professional and academic experience with file-

   sharing technologies and digital piracy. See Ex. C at 34:18-35:21; Ex. A at App. A.

           Strong’s proposed testimony, as set forth in his expert reports and at his deposition, falls

   into four general subject areas. First, Strong conducts a damages analysis in which he purports

   to measure the actual harm to Plaintiffs, gains to Charter, and deterrence. See Ex. A ¶¶ 46-100.

           Second, Strong, assuming that, as a legal matter, Plaintiffs can obtain only one recovery

   for all songs that were registered as part of an album and only one recovery where a sound

   recording and its underlying composition are both asserted, calculates the number of works-in-

   suit to arrive at a range of statutory damages and then concludes that the actual damages in this

   case are well below the minimum award for statutory damages. See id. ¶¶ 21 & n.42, 106.

           Third, Strong opines that Dr. Furchtgott-Roth does not offer an adequately supported

   claim for damages because Dr. Furchtgott-Roth analyzes harm to Plaintiffs in the context of the

   economic characteristics of property, which Strong opines is “not relevant” to copyright

   infringement damages. Id. ¶¶ 30, 35.

           Fourth, Strong opines generally on the music industry and how it was impacted by P2P

   file sharing.

                                           LEGAL STANDARD

           An expert qualified “by knowledge, skill, experience, training, or education” may provide

   opinion testimony if it (1) is helpful to the jury; (2) is based on sufficient facts or data; (3) is the

   product of reliable principles and methods; and (4) the expert has reliably applied the principles

   and methods to the facts of the case. Fed. R. Evid. 702.




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            Trial courts act as gatekeepers to ensure that expert testimony is relevant and reliable.

   Daubert v. Merrell Dow Pharms., Inc., 509 U.S. 579, 589, 597 (1993). Expert opinions are

   relevant if they would “help the trier of fact to understand the evidence or to determine a fact in

   issue.” Fed. R. Evid. 702(a); see also Daubert, 509 U.S. at 591. They are reliable if the expert is

   qualified and his or her opinions are “scientifically valid” and based on “reasoning or

   methodology [that] properly can be applied to the facts in issue.” Daubert, 509 U.S. at 593. As

   a gatekeeper, the Court must assess the “reasoning and methodology underlying the expert’s

   opinion” and determine “whether it is scientifically valid and applicable to a particular set of

   facts.” Blotcher v. Stewart, 45 F. Supp. 3d 1274, 1278 (D. Colo. 2014) (Jackson, J.) (quoting

   Goebel v. Denver & Rio Grande W. R.R. Co., 215 F.3d 1083, 1087 (10th Cir. 2000)). Even if

   relevant, “[e]xpert testimony, like any other evidence, is subject to exclusion if it fails the Fed. R.

   Evid. 403 balancing test.” Thompson v. State Farm Fire & Cas. Co., 34 F.3d 932, 941 (10th Cir.

   1994).

            The proponent of expert testimony has the burden of establishing by a preponderance of

   the evidence that the testimony is admissible. United States v. Nacchio, 555 F.3d 1234, 1241

   (10th Cir. 2009); Salvatore v. Pingel, 2010 WL 11590318, at *4 (D. Colo. Mar. 12, 2010).

                                               ARGUMENT

   I.       Strong’s Legal Opinions Should Be Excluded.

            “Expert witnesses may not testify as to ultimate issues of law governing the jury’s

   deliberations, because instructing the jury is the function of the trial judge.” U.S. Aviation

   Underwriters, Inc. v. Pilatus Bus. Aircraft, Ltd., 582 F.3d 1131, 1150 (10th Cir. 2009) (citing

   Specht v. Jensen, 853 F.2d 805, 808 (10th Cir. 1988)). Furthermore, “testimony which

   articulates and applies the relevant law . . . circumvents the jury’s decision-making function by

   telling it how to decide the case.” Specht, 853 F.2d at 808; see also Wildearth Guardians v. Pub.
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   Serv. Co. of Colo., 853 F. Supp. 2d 1086, 1090 (D. Colo. 2012) (Jackson, J.) (excluding opinions

   interpreting environmental regulations because “interpretation of the law is a matter for the

   Court”). Strong’s proffered testimony circumvents both of these rules.

          A.      Strong Improperly Instructs the Jury on Statutory Damages.

          Strong improperly instructs the jury on the relevant factors the jury may consider in

   awarding damages and the amount of damages that would provide adequate deterrence. Strong

   opines on the “factors that inform an appropriate calculation of statutory damages” based on his

   interpretation of case law and a U.S. Department of Commerce White Paper. Ex. A ¶ 63. To

   quantify one of the factors, “the deterrent value of the damages,” Strong incorporates a purported

   “deterrence multiplier” of two to three times actual harm based solely on his “understand[ing]”

   that “courts in Colorado . . . have awarded statutory damages in cases involving musical works

   that are between two and three times license fees.” Id. ¶¶ 98-100. Strong offers no factual or

   economic basis for his claim that his chosen “deterrence multiplier” captures the range of

   statutory damages appropriate here and incorrectly states that his choice of a numerical

   deterrence multiplier can yield an appropriate calculation of the upper bound of statutory

   damages because one case he relies upon involved an instance of willful infringement. See Ex.

   A ¶ 99 n.171 (citing case law). But, in assessing statutory damages, “courts have eschewed use

   of mathematical formulas or equations in favor of a number of factors.” 6 William F. Patry,

   Patry on Copyright § 22:174 (2021) (citation omitted). And willfulness and deterrence are

   typically evaluated as distinct factors bearing on statutory damages. See, e.g., Bryant v. Media

   Right Prods., Inc., 603 F.3d 135, 144 (2d Cir. 2010) (distinguishing “the infringer’s state of

   mind” from deterrence considerations).

          Strong’s opinion on the statutory damages factors and the deterrence multiplier should be

   excluded because Strong “may not … testify outside of the statutory damages framework, or to
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   what goes into statutory damages as a matter of law.” Sony Music Ent. v. Cox Commc’ns, Inc.,

   2019 WL 9088257, at *2 (E.D. Va. Nov. 19, 2019). Strong acknowledges that he is not offering

   opinions as a legal expert, see Ex. C at 33:22-34:3, and the cases he cites were provided to him

   by Charter’s counsel, id. at 262:15-264:24. By opining on case law Charter’s counsel provided,

   he acts as “a puppet through which counsel will lecture the jury on the law.” KNAPP Logistics

   & Automation, Inc. v. R/X Automation Sols., Inc., 2015 WL 5608124, at *1. But the range of

   statutory damages is set by statute, and this Court, not an expert witness, must instruct the jury

   on the factors to consider in awarding damages within that statutory range.

          B.      Strong’s Opinion on the Number of Works in Suit is an Impermissible Legal
                  Conclusion.

          Strong’s calculation of the number of works-in-suit rests on and advances improper legal

   opinions. First, based on instructions from Charter’s counsel, Strong assumes that “tracks

   embody both an identified sound recording and an identified musical composition within a single

   track” and counts the two separate copyrights—one for the track and one for the composition—

   as a single work. See Ex. A ¶ 21. Second, Strong treats “all songs on an album and registered as

   a compilation . . . as a single work.” See id. ¶ 21 n.42. These assumptions are crucial to Strong’s

   damages analysis: the fewer the works-in-suit, the lower the range of statutory damages that

   Strong opines that the jury may award in this case. See id. ¶ 100. Yet Strong admitted that the

   number of works-in-suit is “a legal issue” and that he was asked to make those assumptions by

   counsel. See Ex. C at 97:11-25. Strong also admitted that the “the correct number of works-in-

   suit” is “well beyond my purview.” Id. at 98:1-6. Strong’s calculations give voice to Charter’s

   counsel’s legal conclusions, and Strong should be precluded from repackaging those conclusions

   as expert testimony. See KNAPP Logistics, 2015 WL 5608124, at *1-2.




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          C.      Strong’s Criticisms of Dr. Furchtgott-Roth’s Analysis Invade the Roles of the
                  Court and the Jury.

          Strong’s opinion that Dr. Furchtgott-Roth’s analysis “does not inform a showing of harm

   to plaintiffs” is an inadmissible legal opinion. Ex. C at 106:25-107:4; see Ex. A ¶¶ 30-36.

   Strong opines that 17 U.S.C. § 504 permits recovery for “(1) actual damages … and any profits,”

   and “(2) statutory damages, which includes consideration of certain factors, including harm to

   the plaintiffs and gains by the defendant.” Ex. A ¶ 30. According to Strong, because

   “Dr. Furchtgott-Roth refers to three attributes of property” generally accepted in economics, and

   because those attributes aren’t part of “the actual standards of either [subsection of] Section 504”

   they are “not informative with respect to harm to Plaintiffs.” Ex. C at 107:5-108:15; Ex. A ¶ 30.

   But an expert may testify about “economic principles.” Fed. R. Evid. 702, 2000 Adv. Comm.

   Note (quoting Am. Coll. of Trial Laws., Standards and Procs. for Determining the Admissibility

   of Expert Test. after Daubert, 157 F.R.D. 571, 579 (1994)). Whether Dr. Furchtgott-Roth’s

   opinions are “informative” in assessing statutory damages under Section 504 and thus whether

   they “will help the trier of fact to understand the evidence or to determine a fact in issue[,]” Fed.

   R. Evid. 702(a), is a question for the Court, not Strong, to determine.

          Strong’s opinion is also legally incorrect. He opines that Dr. Furchtgott-Roth’s analyses

   of harm are “not sufficient” primarily because Dr. Furchtgott-Roth “cannot say how much”

   Plaintiffs were harmed. Ex. A ¶¶ 35-36; see Ex. C at 108:16-19 (“Q. And is it your

   understanding that Dr. Furchtgott-Roth opines on the actual harm …? A. No, he does not. He

   says it’s impossible.”). But economic expert opinions need not be tied to a specific quantitative

   analysis, and economists may testify as to factors that resist quantification but are nevertheless

   proper for a jury to consider in awarding damages. See, e.g., Smith v. Ingersoll-Rand Co., 214

   F.3d 1235, 1245-46 (10th Cir. 2000) (upholding district court ruling permitting an economist to


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   offer testimony about the principles of hedonic damages while also excluding the expert’s

   quantitative analysis). Strong’s opinion impermissibly conflates “actual damages,” which

   Plaintiffs have chosen not to seek in this case, with the unquantifiable harm suffered by

   Plaintiffs, a proper factor for the jury to consider in assessing statutory damages. See, e.g., Chi-

   Boy Music v. Charlie Club, Inc., 930 F.2d 1224, 1229 (7th Cir. 1991) (in assessing statutory

   damages, trier of fact may consider, among other things, “the difficulty or impossibility of

   proving actual damages”).

   II.    Strong’s Opinions on Gains to Charter and Actual Harm to Plaintiffs Are
          Unreliable Because They Are Contradicted by the Evidence and Rest on Flawed
          Methodology.

          Although experts may base their opinions on assumptions of fact, those assumptions must

   be connected to the actual facts of the case. See, e.g., Truck Ins. Exch. v. MagneTek, Inc., 360

   F.3d 1206, 1213 (10th Cir. 2004) (holding that expert’s opinion regarding source of fire was

   unreliable because expert made assumptions about ballast temperature that were not supported

   by evidence). “[N]othing in either Daubert or the Federal Rules of Evidence requires a district

   court to admit opinion evidence which is connected to existing data only by the ipse dixit of the

   expert.” Gen. Elec. Co. v. Joiner, 522 U.S. 136, 146 (1997). Strong’s opinions about Charter’s

   gains from retaining infringing subscribers and estimation of Plaintiffs’ lost sales should be

   excluded because they are based on Strong’s unreasonable assumptions rather than the facts.

          A.      Strong’s Analysis of Charter’s Gains Relies on Unreasonable Assumptions
                  That Are Contradicted by the Evidence.

          One of the key opinions offered by Strong is a quantification of the gains to Charter of

   retaining infringing subscribers. See Ex. A ¶¶ 63, 81-91. In calculating Charter’s gains, Strong

   uses a flawed methodology that lacks factual support and is based on speculation. Because




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   Strong’s analysis of Charter’s gains is neither “based on sufficient facts or data” nor “the product

   of reliable principles and methods[,]” it should be excluded. Fed. R. Evid. 702(b)-(c).

          Strong’s methodology suffers from three primary flaws, each providing an independent

   basis for excluding his analysis of gains to Charter as unreliable. First, Strong fails to account

   for bundling—a process by which Charter aggregated and sold multiple services to a single

   customer. Ex. C at 234:5-11 (explaining that he “disregard[s] the bundle” at the “first level of

   apportionment”).

                                                                                                    . Id.

   at 230:22-231:9.

          Second,




                                        Ex. C at 237:1-9.



                         Ex. A ¶ 61. But Strong does not account for the fact that, in reality,

   Charter’s internet service was not severable and, as Strong agreed, “[c]ustomers do not pay a

   prorated amount based on how they use the internet on Charter’s network.” Ex. C at 235:21-

   237:11. So if Charter had terminated the internet service of a repeat infringer, as Plaintiffs

   contend it should have done, Charter would have lost all subscription fees for that subscriber, not

   just a pro-rated amount for the bandwidth associated with infringing file-sharing.

          Third, Strong’s apportionment for P2P traffic as a percentage of all internet traffic,

   including by the millions of internet users who do not use P2P, fails to account for the actual P2P

   use by repeat infringers. Strong relies on data that reflects the percentage of all internet traffic



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    that is attributable to P2P traffic, and thus



                                                                      . Id. at 240:20-243:2.

            With each of these flaws, Strong disregards the facts underlying this case in favor of a

    contrived but-for world that underestimates Charter’s gains. Such testimony does not satisfy the

    standards for expert testimony set forth by Rule 702 and should be excluded. See, e.g., Tyger

    Constr. Co. v. Pensacola Constr. Co., 29 F.3d 137, 144 (4th Cir. 1994) (“When the assumptions

    made by an expert are not based on fact, the expert’s testimony is likely to mislead a jury, and

    should be excluded by the district court.”). Nor should Strong be permitted to recast his analysis

    of “financial gain” to Charter as an opinion on Charter’s incentives to retain infringing

    subscribers, an element of Plaintiffs’ vicarious liability claim. See Ex. C at 238:2-239:6. Such

    an opinion should be excluded because, as Strong admits, he is not qualified to offer any

    opinions on questions of liability, nor does he purport to do so. See, e.g., id. at 27:24-28:1;

    180:16-181:9.

            B.      Strong’s Estimate of Lost Sales Rests on Unreasonable Assumptions That
                    Lack a Factual Basis.



                                           . See Ex. A ¶ 68. Because Strong’s assumption is not

    supported by evidence, Strong’s estimate of lost sales should be excluded. MagneTek, Inc., 360

    F.3d at 1213 (holding district court within its discretion to exclude expert testimony based on

    “assumptions . . . that were not supported by the evidence”).

            First, Strong incorrectly assumes that the notices Plaintiffs sent informing Charter that its

    subscribers were infringing Plaintiffs’ works reflect that the subscribers downloaded the works

    when, in fact, the notices reflect observed distributions of Plaintiffs’ copyrighted works. See Ex.


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    A ¶ 67; see also Ex. D (Testimony of Barbara Frederiksen-Cross, Sony Music Ent. v. Cox

    Commc’ns, Inc., Dec. 4, 2019) at 423:12-20. Second, relying entirely on Dr. Sinnreich and

    without any independent analysis,



                                               . See Ex. A ¶ 68.




                                                                                               . See Ex.

    C at 194:14-20.



                       . See id. at 200:13-21 (

                                                          ”). Because Strong’s lost sales estimate is the

    product of arbitrary assumptions not tied to the facts of this case, that opinion should be

    excluded.

    III.   Strong is Unqualified to Opine on the Music Industry and P2P Piracy, and He
           Should Be Precluded from Repeating Dr. Sinnreich’s Opinions on Those Topics.

           Strong’s wide-ranging opinions on the music industry, digital file sharing, and piracy are

    outside the scope of his expertise and should be excluded. Strong’s Rebuttal Report offers

    sweeping characterizations of P2P piracy and its impact on the music industry, including the

    “extensive non-infringing uses,” “declining … popularity,” and “benefits” to Plaintiffs of P2P

    piracy, Ex. A ¶¶ 18-20, 31, 49-53, 59, that Plaintiffs failed to mitigate the harm from P2P piracy,

    id. ¶¶ 54, 96, and that Charter’s subscribers likely wouldn’t have purchased through legitimate

    means the music they distributed via P2P file sharing, id. ¶ 57. Although Strong characterized


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    these opinions as mere “context,” Ex. C at 85:8-17; 92:7-13, that is inaccurate.



                                                                             , id. at 192:16-194:25;

    196:14-197:4; 200:22-201:12. Strong also opines,

                                                   , that Charter’s handling of DMCA notices caused a

    decline in infringing activity on its network, which he claims “contradicts Plaintiffs’ claims that

    Charter did nothing to deter subscribers from infringement.” Ex. A ¶ 104.

           But Strong is relying entirely on Dr. Sinnreich to offer these opinions. Strong admits that

    he is not an expert in the music industry. See Ex. C at 34:15-17; 253:12-18. He has never

    worked in the music industry or published any analysis of it. See id. at 35:2-4; Ex. A at App. A.

    Strong also admits that he is not an expert in internet services, file-sharing technologies, or

    telecommunications. Id. at 34:18-35:1; 35:13-21. Strong uncritically adopts and repeats,

    without any independent investigation, opinions about the music industry and file sharing offered

    by Dr. Sinnreich. Strong’s Rebuttal Report cites to Dr. Sinnreich’s Expert Report 33 times and

    to a separate conversation with Dr. Sinnreich 16 times. See id. at 84:18-85:17. In spite of his

    extensive reliance on Dr. Sinnreich,

                            . See id. at 87:25-88:5.



                                                                  . Id. at 78:10-80:21. Likewise,

    when Strong ostensibly draws on other sources, including a Nielsen report that he claims

    corroborates Dr. Sinnreich’s views on piracy’s benefits, his grasp of these materials is shaped

    entirely by Dr. Sinnreich’s conclusions. See id. at 140:15-141:17. Strong’s opinions on the

    music industry and digital file sharing should be excluded because they are informed entirely by



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    what Strong was told by Dr. Sinnreich, rather than by Strong’s own expertise. See Arista

    Records LLC v. Lime Group LLC, 2011 WL 1674796, at *10 (S.D.N.Y. May 2, 2011) (excluding

    Strong’s opinions on “the music industry and technology spheres” because of his “lack of

    expertise” and “he appears to rely almost entirely on an uncritical review of others’ views”).

           Plaintiffs are separately moving to exclude the testimony offered by Dr. Sinnreich. To

    the extent that Dr. Sinnreich’s testimony is inadmissible, that is an independent ground for

    excluding Strong’s opinions that either depend on or merely repeat Dr. Sinnreich’s conclusions.

    See Gopalratnam v. Hewlett-Packard Co., 877 F.3d 771, 789 (7th Cir. 2017) (affirming

    exclusion under Rule 703 of expert testimony that relied on excluded opinions of another

    expert). But even if Dr. Sinnreich’s opinions were admissible, which they are not, those parts of

    Strong’s testimony that echo Dr. Sinnreich’s conclusions should be excluded as needlessly

    cumulative and unfairly prejudicial. Under Federal Rule of Evidence 403, “[t]he court may

    exclude relevant evidence if its probative value is substantially outweighed by a danger of . . .

    needlessly presenting cumulative evidence.” Fed. R. Evid. 403. As discussed above, Strong’s

    opinions about the music industry, file-sharing, and piracy uncritically repeat Dr. Sinnreich’s

    conclusions. If Dr. Sinnreich is allowed to testify as an expert for Charter, then Strong should

    not be allowed to repeat Dr. Sinnreich’s conclusions in his testimony. In that case, Strong’s

    testimony would be needlessly cumulative. See Lime Group, 2011 WL 1674796, at *11

    (excluding Strong’s opinions because his testimony “is duplicative of the testimony of

    Defendants’ music industry expert, Professor Aram Sinnreich”). The risk of unfair prejudice

    would also far outweigh such testimony’s probative value, as Strong has undertaken no

    independent analysis of the topics covered by Dr. Sinnreich and would offer no more than

    uncritical bolstering of his conclusions.



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           Strong’s testimony should neither needlessly bolster Dr. Sinnreich’s testimony nor

    supplant it if this Court deems the latter inadmissible. Those parts of Strong’s testimony that

    repeat Dr. Sinnreich’s conclusions should therefore be excluded.

                                             CONCLUSION

           For the reasons discussed above, Plaintiffs respectfully request that the Court:

           (1) preclude Strong from instructing the jury on the law of statutory damages and its

    application on the ground that Strong is offering an impermissible legal conclusion;

           (2) preclude Strong from testifying to the number of works-in-suit on the ground that

    Strong’s calculation rests on improper legal conclusions;

           (3) preclude Strong from critiquing the testimony of Plaintiffs’ expert, Dr. Furchtgott-

    Roth, as irrelevant and insufficient to support Plaintiffs’ damages claim, on the ground that

    Strong is offering an impermissible legal conclusion;

           (4) preclude Strong from opining on Charter’s gains and Plaintiffs’ harms caused by

    Charter’s infringing subscribers on the ground that Strong’s analysis is unreliable because it

    lacks factual support and rests on flawed methodology;

           (5) preclude Strong from opining on the music industry, internet piracy, and Charter’s

    antipiracy efforts on the ground that Strong is unqualified to offer such testimony and, because

    Strong relies on Dr. Sinnreich, such testimony should be excluded to the extent Dr. Sinnreich’s

    testimony is excluded or as needlessly cumulative if Dr. Sinnreich is permitted to testify.



     Dated: November 15, 2021                                   /s/ Stacey K. Grigsby
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                           LOCAL CIVIL RULE 7.1(a) CERTIFICATION

           The parties conferred by phone on November 10, 2021 regarding the issues raised by this

    motion and could not reach agreement.

                                    CERTIFICATE OF SERVICE

           On November 15, 2021, I caused the foregoing document and all supporting materials to

    be filed electronically with the Clerk of the Court using the CM/ECF system, which will send a

    notice of electronic filing to all counsel of record registered with CM/ECF.


                                                                /s/ Stacey K. Grigsby




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